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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                     SAN FRANCISCO DIVISION

                                   7
                                         IN RE: SOCIAL MEDIA ADOLESCENT
                                   8     ADDICTION/PERSONAL INJURY                          Case No. 22-md-03047-YGR (PHK)
                                   9     PRODUCTS LIABILITY LITIGATION
                                         ________________________________
                                  10                                                        ORDER RE: DEPOSITION
                                                                                            PROTOCOL
                                  11     This Document Relates to:
                                         All Actions                                        Re: Dkts. 649, 688
                                  12
Northern District of California
 United States District Court




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                                  14                                              INTRODUCTION

                                  15          On February 28, 2024, the Parties submitted a Joint Statement on their disputes regarding a

                                  16   Deposition Protocol for this MDL. [Dkt. 649]. On the morning of March 18, 2024, the Parties

                                  17   submitted a further Joint Submission Regarding the Deposition Protocol, in which they reported

                                  18   success in ongoing negotiations which narrowed the remaining disputes to two issues only. [Dkt.

                                  19   688]. In the afternoon of March 18, 2024, this Court held a hearing in this MDL on the Parties’

                                  20   remaining disputes concerning the proposed terms of a Deposition Protocol. See Dkt. 691. This

                                  21   Order memorializes and provides further guidance to the Parties, consistent with the Court’s

                                  22   verbal Orders, directives, and guidance at the March 18, 2024 hearing (all of which is incorporated

                                  23   herein by reference).

                                  24                                                 DISCUSSION

                                  25          As noted, the Parties’ March 18, 2024 Joint Submission advised the Court that the two

                                  26   remaining issues in dispute were: (1) procedures regarding cross-noticed depositions from related

                                  27   cases (that are not part of the MDL or JCCP); and (2) timing of production of custodial files prior

                                  28   to depositions.
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                                   1          After reviewing the Parties’ briefing and joint submissions (including competing proposed

                                   2   language) and hearing the Parties’ respective arguments at the March 18, 2024 hearing, the Court

                                   3   ORDERS that the remaining disputes as to the Deposition Protocol are RESOLVED as follows:

                                   4      •   The Parties shall meet and confer regarding their agreed upon list of other actions which

                                   5          constitute “Related Actions” for purposes of this Deposition Protocol (and thus constitute

                                   6          actions from which a deposition notice could trigger the issue of cross-noticing) and

                                   7          include that definition of “Related Actions” in an attachment to (or in the text of) the final

                                   8          proposed Deposition Protocol.

                                   9      •   The Parties shall include both Parties’ proposed language at Section II.H.2 regarding cross-

                                  10          noticed depositions [Dkt. 688 at 20-21] except as modified herein. As such, Defendants

                                  11          shall provide notice to Plaintiffs’ counsel of any deposition of one of their current or

                                  12          former employees that has been noticed to take place in a “Related Action” (as defined
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                                  13          either in the text of or in an appendix or chart/list attached to the Deposition Protocol by

                                  14          the Parties) within five (5) days of Defendants receiving notice. Upon notice from

                                  15          Defendants, Plaintiffs will have twenty-one (21) days to decide whether to cross-notice a

                                  16          deposition into this MDL. If Plaintiffs cross-notice such a deposition, the individual and

                                  17          cumulative time limits for depositions apply to that cross-noticed deposition. If Plaintiffs

                                  18          do not cross-notice but later decide that they do want to depose that witness in this MDL,

                                  19          the Parties shall first meet and confer to determine if there is consent or a dispute over

                                  20          whether such deposition should go forward. If there is a dispute, the Parties shall follow

                                  21          the Court’s dispute resolution procedures in the Court’s Standing Order for Discovery. If

                                  22          (after completing all meet and confers to try to resolve any such dispute) the dispute

                                  23          remains unresolved, the Parties shall file a Joint Discovery Letter to this Court regarding

                                  24          the dispute (again pursuant to the Court’s Standing Order for Discovery), in which both

                                  25          Parties shall address whether or not there is good cause for such leave to be granted, and

                                  26          whether or not there is good cause for the Court to grant a protective order barring

                                  27          Plaintiffs from taking such deposition.

                                  28      •   Effective immediately and until further Order of this Court, the Parties shall submit a Joint
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                                   1         Deposition Status Chart as part of the monthly Discovery Management Conference

                                   2         (“DMC”) Statement. The Joint Deposition Status Chart shall be formatted with columns to

                                   3         identify the names (including titles, affiliations, last known contact information, and other

                                   4         such identifying information) of each individual witness to be deposed by a Party in this

                                   5         case. A Party identifying a witness to be deposed is thereby representing to the Court and

                                   6         all Parties that the identifying Party reasonably expects in good faith to depose each such

                                   7         identified witness by that Party in this case. The Joint Deposition Status Chart shall be

                                   8         regularly updated by the Parties, and at a minimum, the chart shall be updated as part of

                                   9         the process for drafting each month’s DMC Statement. Prior to updating the chart for the

                                  10         DMC Statement each month, the Parties shall meet and confer regarding scheduling and

                                  11         identifying proposed dates for all the listed witnesses’ depositions, where the depositions

                                  12         shall be scheduled at times and dates within the fact discovery period. The chart shall have
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                                  13         columns identifying the date each identified witness was first identified to the other Parties

                                  14         as a deponent, the Party who identified each such witness, and the date(s) for each

                                  15         identified witness’s deposition. The Parties shall meet and confer in good faith to

                                  16         cooperate diligently in setting dates for depositions and shall be prepared to report on the

                                  17         progress and status of scheduling depositions at each DMC.

                                  18     •   The custodial file for each deponent identified in the Joint Deposition Status Chart shall be

                                  19         produced by the Party for whom that deponent is (or was) employed (or by the Party who

                                  20         is otherwise representing that deponent for purposes of discovery in this case) within sixty

                                  21         (60) days after each such person is identified for inclusion in the Joint Deposition Status

                                  22         Chart. The Parties shall cooperate in good faith to discuss extensions of time for such

                                  23         productions of custodial files. If, after following the Court’s dispute resolution procedures

                                  24         for discovery disputes, the Parties cannot resolve a dispute concerning production of a

                                  25         custodial file, the Parties shall file a Joint Discovery Letter discussing the issue in dispute

                                  26         regarding timing of such production. As noted at the March 18, 2024 hearing and to

                                  27         provide the Parties guidance, the Court will grant reasonable extensions of time to

                                  28         complete a production for good cause shown. The Joint Deposition Status Chart shall
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                                   1         include a column identifying the date when the custodial file for each identified witness

                                   2         has been produced.

                                   3     •   The Parties shall follow this process for identifying witnesses in good faith, and the Parties

                                   4         shall not abuse the process of identifying witnesses for deposition and shall not abuse the

                                   5         Joint Deposition Status Chart (and related custodial file) procedure by over-designating

                                   6         and then later withdrawing persons to be deposed. The Court will consider both

                                   7         modifications to this process as appropriate within the Court’s discretion, and the Court

                                   8         will consider sanctions for abuse of this deposition process, including but not limited to

                                   9         reductions in hours and time limits a Party has been allocated for taking depositions,

                                  10         limiting or reducing numbers of depositions a Party can take, monetary sanctions

                                  11         associated with costs incurred for unnecessarily premature custodial file productions, and

                                  12         any other sanction the Court deems appropriate under the circumstances.
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                                  13     •   As an incentive for the Parties to disclose witnesses each side intends to depose and thus

                                  14         start the discussion as to scheduling depositions as early as possible:

                                  15            o If a Party first identifies a witness for deposition on or before April 30, 2024, that

                                  16                identifying Party shall be permitted one (1) hour of additional deposition time for

                                  17                that identified witness, where that additional one hour (if taken) shall not be

                                  18                counted against that identifying Party’s cumulative time limits allocated for

                                  19                depositions.

                                  20            o Absent agreement between the Parties, that additional one hour, if unused for that

                                  21                particular witness, shall not carry over to another witness, and that additional one

                                  22                hour is “additional” in the sense that the deposing Party can take one more hour of

                                  23                deposition of that witness over and above the total time that Party could otherwise

                                  24                take under the Court’s prior hours limits per deposition. For example, as the Court

                                  25                stated at the March 18, 2024 hearing, if a Party has a twelve-hour time limit for a

                                  26                deposition of a witness under the existing discovery limits, that Party can take a

                                  27                total of thirteen hours of deposition time for that witness if that witness is identified

                                  28                by April 30, 2024 (but if that Party only uses, for example, six hours of deposition
                                                                                        4
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                                   1                 time for that witness, even though that Party could have taken up to twelve hours,

                                   2                 then the additional hour is unused and does not subtract from the six hours actually

                                   3                 used for purposes of calculating how much time a Party has used for their total

                                   4                 cumulative deposition hours allocated).

                                   5             o Further to the above, if a Party first identifies a witness for deposition on or before

                                   6                 May 31, 2024, that identifying Party shall be permitted forty-five (45) minutes of

                                   7                 additional deposition time for that identified witness, where that additional forty-

                                   8                 five minutes shall not be counted against that identifying Party’s cumulative time

                                   9                 limits allocated for depositions.

                                  10             o And, if a Party first identifies a witness for deposition on or before June 30, 2024,

                                  11                 that identifying Party shall be permitted thirty (30) minutes of additional deposition

                                  12                 time for that identified witness, where that additional thirty minutes shall not be
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                                  13                 counted against that identifying Party’s cumulative time limits allocated for

                                  14                 depositions.

                                  15     •   A Party shall identify a witness for deposition and thus for placement on the Joint

                                  16         Deposition Status Chart in writing to all Parties (either by email, fax, overnight express

                                  17         delivery service, or by First Class mail with return receipt requested) by providing at least

                                  18         the first and last name of the witness, their title (or last known title) or position if known,

                                  19         the Defendant who either employs or employed them or with whom they are affiliated for

                                  20         purposes of discovery in this MDL (or, if they are not affiliated with a Defendant, their

                                  21         current employer if known), and their contact information (or last known contact

                                  22         information) if known. The date that a witness was identified for purposes of the chart

                                  23         shall be the date of receipt of the writing identifying that witness. A Party which receives

                                  24         a writing identifying a witness which that receiving Party believes to be incomplete or

                                  25         inaccurate shall promptly and in good faith meet and confer with the identifying Party to

                                  26         correct any information concerning that witness for accuracy of the chart and for

                                  27         reasonable planning for depositions. The Parties shall cooperate in drafting the Joint

                                  28         Deposition Chart to agree upon and insert the date each witness was identified.
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                                   1     •   The Parties shall meet and confer to discuss swapping any additional time from depositions

                                   2         of minors to other witnesses, where appropriate, to limit the amount of deposition time for

                                   3         witnesses who are minors.

                                   4     •   The Court declines to set any “caps” or limitations on the number or categories of

                                   5         individuals who can be listed as witnesses in the Joint Deposition Status Chart. However,

                                   6         the Court cautions the Parties to not abuse the charting and identification process. The

                                   7         Parties shall be prepared to report to the Court at each month’s DMC how the process is

                                   8         working and whether any reasonable modifications need to be proposed. Each side (where

                                   9         all the Defendants collectively are considered a “side,” and all Plaintiffs collectively are

                                  10         considered a “side”) shall coordinate in the identification of witnesses for deposition, and

                                  11         multiple designations of the same witness by a side are not allowed.

                                  12     •   The Court orders the Parties to amend Section II.K of the proposed Deposition Protocol
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                                  13         (regarding procedures for disputes that arise during depositions) to require that prior to

                                  14         contacting the Court, the primary interrogating and defending attorneys at any such

                                  15         deposition must meet and confer on the issue. If the dispute remains, lead trial counsel for

                                  16         the Party represented by each of these lawyers must also meet and confer (in person if they

                                  17         are at the deposition or otherwise physically nearby each other, or by videoconference) on

                                  18         the issue. If the dispute remains, the Parties may then contact the Court for an emergency

                                  19         telephonic hearing pursuant to Section D of the Court’s Standing Order for Discovery.

                                  20         The Parties will alert the court reporter to be prepared to read the deposition question and

                                  21         answer at issue to the Court during any such emergency hearing.

                                  22     •   Section II.A.4 of the proposed Deposition Protocol shall be revised to require the Parties to

                                  23         meet and confer in good faith regarding deposition scheduling with attorneys in any

                                  24         “Related Actions” who are involved in cross-noticed depositions. The Parties shall

                                  25         provide those attorneys with a copy of the Deposition Protocol and any other applicable

                                  26         Orders.

                                  27     •   The Parties shall include in the proposed Deposition Protocol a provision requiring that

                                  28         third parties in any other case (such as a “Related Action”) who seek copies of deposition
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                                   1          transcripts from this MDL (such as by way of discovery in such other cases) shall first

                                   2          agree to be bound by the Protective Order governing this case or by a substantially similar

                                   3          Protective Order in that other “Related Action” before receipt of any such deposition

                                   4          transcripts, and shall treat any such deposition transcript pursuant to the terms of the

                                   5          applicable Protective Order.

                                   6      •   The Parties shall meet and confer on whether to edit Section II.M.3 of the proposed

                                   7          Deposition Protocol to include a provision on limiting the number of hard copies of

                                   8          exhibits to be handed out to other counsel at each deposition, by using electronic

                                   9          deposition exhibits or otherwise providing notice of likely exhibits reasonably expected to

                                  10          be used prior to a deposition.

                                  11      •   The Parties shall meet and confer to discuss the logistics for responsibility for arranging

                                  12          for Realtime deposition transcript services, including responsibility for payment for each
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                                  13          Party seeking Realtime and coordinating with the court reporter service for such.

                                  14                                                  CONCLUSION

                                  15          The Parties are ORDERED to prepare and submit a FINAL proposed Deposition Protocol

                                  16   which incorporates the Court’s rulings, directives, and guidance from the March 18, 2024 hearing

                                  17   and as further discussed herein. The Court’s intention is for this Order to be consistent with the

                                  18   Court’s verbal rulings at the March 18, 2024 hearing, but in the unlikely event that there is

                                  19   inconsistency, this Order shall take precedence. If, for some reason, the Parties nevertheless

                                  20   require further clarification about any issues, they may so indicate in the final proposed Deposition

                                  21   Protocol. By this Order and the Court’s admonishments at the March 18, 2024 hearing, the Court

                                  22   encourages and seeks to incentivize the Parties to start the process of identifying witnesses and

                                  23   discussing (starting now) a reasonable schedule for depositions, to avoid a situation where the

                                  24   Parties try to serve a multitude of deposition notices for the first time late in the discovery period

                                  25   and risk arguments about the case schedule and preparation of these cases for trial. The Court

                                  26   applauds the Parties in their efforts to meet and confer and to narrow the disputes relating to the

                                  27   Deposition Protocol, and the Court encourages the Parties to continue to approach discovery in a

                                  28   collaborative and rational manner. See Fed. R. Civ. P. 1 advisory committee’s note to 2015
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                                   1   amendment (“Rule 1 is amended to emphasize that just as the court should construe and

                                   2   administer these rules to secure the just, speedy, and inexpensive determination of every action, so

                                   3   the parties share the responsibility to employ the rules in the same way. Most lawyers and parties

                                   4   cooperate to achieve these ends. But discussions of ways to improve the administration of civil

                                   5   justice regularly include pleas to discourage over-use, misuse, and abuse of procedural tools that

                                   6   increase cost and result in delay. Effective advocacy is consistent with — and indeed depends

                                   7   upon — cooperative and proportional use of procedure.”) (emphasis added).

                                   8   IT IS SO ORDERED.

                                   9   Dated: March 20, 2024

                                  10

                                  11                                                   ______________________________________
                                                                                       PETER H. KANG
                                  12                                                   United States Magistrate Judge
Northern District of California
 United States District Court




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